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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                            CASE NO.: 1:21-cv-21079-BB


   SECURITIES AND EXCHANGE COMMISSION,

         Plaintiff,
   v.

   MINTBROKER INTERNATIONAL, LTD.,
   f/k/a SWISS AMERICA SECURITIES LTD.
   and d/b/a SURETRADER, and
   GUY GENTILE, a/k/a GUY GENTILE NIGRO,

         Defendants.



   DEFENDANT GUY GENTILE’S MOTION FOR SANCTIONS FOR SPOLIATION OF
     EVIDENCE UNDER RULE 37(e) AND MEMORANDUM OF LAW IN SUPPORT
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                                      PRELIMINARY STATEMENT

          The SEC alleges in its Complaint that Defendant SureTrader violated Section 15(a)(1) of

  the Securities Exchange Act of 1934, 15 U.S.C. § 78o(a)(1) (Count I) by failing to register with

  the SEC and that Defendant Guy Gentile should be held liable for SureTrader’s registration

  violation under Section 20(a), 15 U.S.C. § 78t(a) (control person, Count II) and Section 20(b), 15

  U.S.C. § 78t(b) (aiding and abetting, Count III). But Section 20(a) provides a “good faith

  defense” to liability where “the controlling person acted in good faith and did not directly or

  indirectly induce the act or acts constituting the violation or cause of action.”1

          The SEC’s case is founded on the demonstrably false premise that months after

  SureTrader commenced operations in November 2011 Gentile and his ex-wife devised a scheme

  to purposefully evade U.S. regulations at a February 2012 meeting after, according to the SEC, it

  became clear SureTrader could not survive without U.S. customers. The SEC’s standard-bearer is

  Philip Dorsett, who claimed to have attended the February 2012 meeting and served as Chief

  Compliance Officer for SureTrader from late-2011 to July 2017 when he was terminated for theft

  of company documents, including emails, and other malfeasance. See Ex. K, Tr. 98:19–101:10;

  Ex. T. Dorsett’s recent deposition made clear that he fabricated the occurrence of the February

  2012 meeting—a fabrication that was repeated in a declaration drafted by the SEC that Dorsett

  signed under penalty of perjury—and that he spoliated highly relevant electronically stored

  information (“ESI”), including emails with lawyers and other advisors to SureTrader regarding

  policies and procedures for complying with U.S. regulations.

          Such communications, which Gentile has reason to believe concerned the use of an

  unsolicited acknowledgement agreement and website pop-up window to ensure any U.S.


  1
   Gentile does not concede he was a “control person” of SureTrader within the meaning of Section 20(a) during the
  Relevant Period.
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  customers of SureTrader were not improperly solicited, are highly relevant to Gentile’s good-

  faith defense under Section 20(a). But Dorsett deleted many such emails.

         Gentile files this motion under Rule 37(e) seeking sanctions for the obvious spoliation of

  relevant emails by the SEC’s “star” witness (and purported “whistleblower”) Philip Dorsett. The

  witness has displayed utter contempt for this Court and the truth-seeking process by testifying

  falsely under oath and admitting to destroying evidence. He should be precluded from testifying

  at trial, the SEC should be precluded from relying on his deposition testimony on summary

  judgment, the Court should instruct the jury at trial that it can infer the documents the witness

  spoliated are adverse to the SEC’s case against Gentile, and the Court should award any other

  relief it deems just and proper, including dismissal of Count II (if not Counts II and III). To the

  extent further development of the record in support of Gentile’s requested sanctions is warranted,

  Gentile respectfully requests that the witness be made to appear in person before this Court and

  be examined during an evidentiary hearing at which the Court may also ask the witness

  questions. Gentile has no doubt that the witness’s lack of candor will be clear to the Court.

                                    FACTUAL BACKGROUND

         Since March 2016, Dorsett has worked in concert with—and at the direction of—the SEC

  to assist it in investigating Gentile. For example, Dorsett—while employed at SureTrader—

  fielded requests to search for and send particular Company documents involving Gentile to the

  SEC, including at times documents containing sensitive personal information of SureTrader

  customers. See, e.g., Ex. L at 1–2. Dorsett also created at least one audio recording of

  SureTrader’s executive team, conveyed that he had done so to the SEC, and offered to make

  further recordings. See Ex. N. In the years following his termination from SureTrader, Dorsett




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  has signed numerous declarations under penalty of perjury at the SEC’s behest, including one

  filed in this Court in June 2022.

          Of particular relevance here, during his time at SureTrader and following his termination

  from the Company in July 2017, Dorsett stole or illicitly retained thousands of SureTrader

  records (predominantly Company emails), contrary to Company policy, Bahamian law, and

  United States law. See generally Gentile Motion for Sanctions, ECF No. 86.2 The SEC now

  claims it sought the production of those documents from Dorsett in or about April 2022, over a

  year after it filed this lawsuit, even though he had forwarded emails and other documents directly

  to the SEC starting in 2016 and had made clear that he was willing to provide the SEC with “all I

  can get my hands on.” See Ex. M at 8. The SEC sought the documents in question outside of any

  formal process—it did not issue a subpoena or letter rogatory that would have included written

  instructions for preserving documents or logging documents withheld from production.

          The SEC first informed counsel for Gentile about these documents at a meet and confer

  on May 9, 2022. See Ex. A at 2. As memorialized in writing shortly thereafter, at the May 9, 2022

  meet and confer counsel for Gentile “asked what limitations [the SEC] put on [its] request,

  specifically if it was limited to records pertaining to the allegations in [the] complaint regarding

  the solicitation of US customers and [the SEC] informed [counsel for Gentile] there were no

  limitations on the request, just all documents they could get.” Id. at 1. The SEC did not dispute

  the broadness of its request for documents to Dorsett, but did respond: “With respect to the




  2
    Dorsett knew what he did was illegal. See Ex. V (email from Dorsett to SEC stating “please be advised that we are
  a Bahamian company located in the Bahamas and therefore must adhere to Bahamian Law”); ECF No. 86-1 at 79–
  80 (Ex. I to Gentile’s Motion for Sanctions) (email from Dorsett to Gentile explaining that requests for documents
  from the SEC should be made through the Attorney General’s office to ensure the Company does not violate
  Bahamian law); ECF No. 86-3 (Miller Affidavit) (opining that Dorsett’s “disclosure of information to the SEC in the
  absence of a court order[] was in breach of [Bahamian law]”).


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  11,000 emails, we requested that Mr. Dorsett search the emails for communications with

  counsel/lawyers and asked that he segregate them and not transmit them to the SEC.” Id. at 2.

         On June 3, 2022, Gentile moved for sanctions based on: the SEC’s violation of the

  Federal Rules by failing to issue a subpoena or letter rogatory for the documents even though

  active litigation had already commenced; disregard of its own internal best practices for

  obtaining documents from witnesses located in foreign countries; and inducement of former

  employees of SureTrader to breach Bahamian law and their contractual obligations to their

  former employer. See generally Gentile Motion for Sanctions, ECF No. 86. In opposition, the

  SEC attached a declaration signed under penalty of perjury by Dorsett in which he stated:

             7. Very early on during the company’s infancy, Gentile had a concern about loss
     of data for SureTrader. Gentile asked me to provide my personal laptop, I gave it to him,
     and he made backups of SureTrader’s data to my personal laptop. Gentile told me that he
     wanted the backups to be separate from SureTrader’s two work laptops. I was not aware of
     what specific technical work Gentile did to back up SureTrader’s data to my personal
     laptop. . . .
             9. I would often have both my personal and work laptops open and work on them
     in plain view of Gentile because he sat less than 10 feet behind me and his desk was
     positioned to see that. The company had a small office with an open floor plan.
            9. [sic] I later learned that SureTrader emails were backed up to my personal
     Gmail account.

  See ECF No. 89-2. Dorsett claimed in his June 27, 2022 declaration that Gentile “backed up”

  data to both a “personal laptop,” i.e., a hard drive, and a “personal Gmail account,” which can be

  accessed from any computer with an internet connection. These averments are false.

         The Court subsequently denied Gentile’s Motion for Sanctions without prejudice because

  the SEC had not violated any court order, and the SEC thereafter sought the documents from the

  Company through the letter-rogatory process. See Order, ECF No. 106. Months later, the SEC

  unilaterally determined that the letter-rogatory process was taking too long and that it would start

  reviewing the documents from Dorsett and another former employee of SureTrader (Yaniv



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  Frantz). See Ex. O. On January 9, 2023, the Court ruled in the SEC’s favor, finding that

  SureTrader was the only entity that possessed any claim to privilege in the documents and that

  the Company—which has not appeared in this action and has defaulted—had not objected to

  their production and had waived the privilege. See Order, ECF No. 157. The SEC thereafter

  produced the documents received from Dorsett to Gentile.

          Dorsett was deposed in this action for two days on February 27 and 28, 2023. During the

  SEC’s examination on the first day, which was replete with improper leading questions, Dorsett

  testified that although he served as Chief Compliance Officer for SureTrader throughout his

  tenure at the Company, he was responsible for ensuring compliance only with Bahamian laws

  and regulations and not U.S. laws and regulations, which he claimed fell solely to Gentile. See

  Ex. C, Tr. 23:2–27:20, 43:11–19.3 Throughout his sworn testimony, he described in detail an

  alleged meeting in February 2012 in the Bahamas that he claimed to have attended with Gentile

  and Gentile’s ex-wife.4 According to Dorsett, at the alleged February 2012 meeting, Gentile and

  his ex-wife were worried SureTrader was not attracting enough customers so they devised a plan

  to solicit U.S. customers and drafted an Unsolicited Acknowledgement Agreement (“UAA”) for

  customers to sign in an effort to evade U.S. regulations. During the first day of his deposition,

  Dorsett testified that he had minimal input in drafting the UAA. See Ex. C, 34:4–14.

          The allegation of the February 2012 meeting as the inception of Gentile’s purported plan

  to solicit U.S. customers was so important that it was included in a declaration Dorsett signed



  3
    This was false. For example, on June 6, 2015, Gentile forwarded an SEC press release to Dorsett with the
  instruction: “Please read the latest from the SEC and tell me how you think this could impact the way we do
  business.” See Ex. U. Dorsett wrote back on June 8, 2015: “The names . . . all seem familiar to me (will do more
  research), however in the interim I think we should be fine as long as we continue to act in line with Rule 15a-6.”
  Id.; see also ECF No. 86-2 ¶ 6 (Cooper Affidavit) (“Mr. Dorsett was responsible for keeping the firm compliant with
  the Bahamas, US, and international securities laws. Mr. Dorsett was responsible for creating and supervising the
  firm policies regarding accepting non-solicited US clients.”).
  4
    See Ex. C, Tr. 32:17–33:24; see also id. at 27:4–20; Ex. D, Tr. 51:9–13; id. at 58:12–18.


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   under penalty of perjury dated September 1, 2020. See Ex. B.5 Dorsett vehemently denied that

   the SEC drafted the declaration for him and insisted that he had done so:

       Q. Does this refresh your recollection that the SEC drafted the [September 1, 2020]
       declaration?
       A. No, I sent what I sent to them and they put it in their official form and sent it back for
       me to sign.
       Q. Then it says on August 20, 2022, you say, “Yes, I have received it. We will revert
       shortly,” do you see that?
       A. Yes.
       Q. It looks like you sent another e-mail on September 1, 2020. So, about 10, 11 days later,
       you say, “Hi, Jessica, I apologize for the delay. Please find attached the signed document
       along with my IDs. Please note I made some changes to the document wording,” do you
       see that?
       A. Okay, could you scroll, because I’m looking -- oh, yes, yes, sorry. I see it.
       Q. Does that refresh your recollection that it was Jessica Weissman [from the SEC] that
       drafted the affidavit?
       A. No, I drafted the affidavit.

   See Ex. D, Tr. 64:14–65:13. The SEC stated on the record during Dorsett’s deposition that it did

   “not have these first drafts” purportedly authored by Dorsett, id. at 214:21–22, and confirmed the

   same in writing after reviewing its files again. See Ex. P.

           The allegation of the purported February 2012 meeting is fundamental to the SEC’s

   theory of the case that Gentile “hatched” a scheme months after the Company had begun

   operations because it was failing: “Gentile hatched his plan in early 2012. With only about 100

   customers and bleak business prospects, Gentile recognized that SureTrader would go out of

   business absent an influx of new customers.” Compl. ¶ 2, ECF No. 1; see also id. ¶ 32. (The

   SEC’s “theory” contrasts starkly with documentary evidence that Gentile and SureTrader had

   consulted with lawyers and other professionals about U.S. regulations concerning solicitation

   and had implemented policies to ensure compliance prior to commencing operations.)



   5
     Notably, email correspondence between Dorsett and the SEC reflects that the original SEC draft affidavit
   recognized the UAA’s use in 2011, but was changed to 2012 at Dorsett’s behest despite the SEC’s knowledge at the
   time of SureTrader’s use of the UAA in 2011. See Ex. Q.


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           But the February 2012 meeting never happened, and the allegation is not only patently

   false but based on perjury. During the second day of Dorsett’s deposition, the witness was shown

   a copy of a signed UAA from a prospective SureTrader customer that was emailed to the witness

   alone (without a copy to Gentile or anyone else) on November 22, 2011, the month the Company

   commenced operations and months before February 2012. See Ex. D, Tr. 54:14–55:13; Ex. S.

   Regarding the UAA from November 2011:

       Q. Do you see there’s a printed name and signature on this document?
       A. Yes. I was the one who actually put that bottom part there. That was my input to the
       unsolicited acknowledgment agreement.
       Q. Do you recall testifying yesterday that you had no input into the unsolicited
       acknowledgment agreement?
       A. Yes.
       Q. But this refreshes your recollection that you did in fact have some input into the
       unsolicited acknowledgment agreement?
       A. I was the one who put it together officially and put the name at the signature line there.

   See Ex. D, Tr. 57:14–58:9.6 When shown again the paragraph from his signed declaration in

   2020 about the alleged February 2012 meeting, the following unfolded:

       Q. . . . Is[n’t] it a fact that the statement that this agreement [UAA] was created in February
       2012 [is] false?
       A. It’s true that that is not·correct.
       Q. It’s false, isn’t it?
       A. Yes, it’s false. I think we realize that. I realize that now.

   Id., Tr. 74:2–10. Mr. Gentile’s ex-wife has confirmed the same. She avers that “from November

   2011 until June 2012, Mr. Gentile and I were legally separated and not on speaking terms.” Ex.

   E, Karen Gentile Decl. ¶ 2. She explains: “I was never in The Bahamas at any time period of

   2012, and I was never in a meeting with Guy Gentile and Philip Dorsett on or around February

   2012 (or at any time).” Id. ¶ 1. According to Ms. Gentile, she “was never in a meeting with Guy

   Gentile and Philip Dorsett on or around February 2012 (or at any time) regarding an Unsolicited


   6
    Dorsett opened an account for this customer in November 2011. See Ex. W. The customer’s account number was
   “PFS00008,” indicating that he was the eighth customer ever for SureTrader. See id.


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   Acknowledgment agreement or gave any advice or suggestion regarding an Unsolicited

   Acknowledgment agreement.” Id.

          Apart from the various falsities described above, it also became apparent during the

   second day of Dorsett’s deposition that the witness had not turned over all SureTrader documents

   in his possession, notwithstanding the SEC’s representation at the May 9, 2022 meet and confer

   that it had asked him for all such documents except for potentially privileged documents:

      Q. I’m asking you just yes or no, do you recall producing 15,000 documents to the SEC
      in this action?
      A. I don’t recall the number.
      Q. When you produced those documents, did you select only certain documents to produce
      to the SEC?
      A. Please clarify.
      Q. Did you produce all SureTrader documents in your [possession] to the SEC when you
      produced the documents in this case, yes or no?
      A. No, actually. I think I have quite a bit more.
      Q. How did you determine which documents to give to the SEC and which documents to
      hold back?
      A. I can’t recall at this point. I can’t recall at this point. I think --
      Q. Did the SEC instruct you to take certain documents out of the production?
      A. No. I think -- well, I can’t recall, but I think it was more or less that e-mails that I was
      able to send to the SEC . . . .

   Ex. D, Tr. 307:2–308:12. Regarding potentially privileged documents, the SEC represented

   that it had asked Dorsett (a nonlawyer) to conduct his own privilege review and “segregate”

   such documents, which he apparently did:

      Q. [D]id the SEC instruct you to remove privileged communication[s] from the e-mails
      that you were transmitting?
      A. Yes, I think they said make sure nothing is privileged between anything to do with a
      lawyer or anything like that.
      Q. You said the SEC instructed you to remove privileged documents, did you hire a law
      firm to do that?
      A. No, I didn’t hire a law firm.
      Q. Did they hire a law firm to do that, yes or no?
      A. No. . . .




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   Id., Tr. 311:16–312:10. And then Dorsett deleted the documents: “what I did was, I tried to do a

   search for the company’s lawyer and I think I just deleted those to be honest. Anything that came

   up with Michael Miller’s[] name I just deleted them.” Id., Tr. 312:10–16.

          Emails between Dorsett—SureTrader’s Chief Compliance Officer—and the Company’s

   legal counsel undoubtedly would have involved questions and advice about SureTrader’s

   compliance with U.S. and Bahamian laws and regulations. Such emails would be highly relevant

   to this case and would support Gentile’s good-faith defense to the SEC’s allegations that he and

   the Company failed to register as a broker-dealer in violation of 15 U.S.C. § 78o. Gentile has

   reason to believe that similar emails between Philip Dorsett and other advisors to the Company

   have also been deleted. For example, Franklin Ogele is a U.S. attorney who at various times

   provided advice to SureTrader regarding compliance with U.S. laws and regulations, including

   nonsolicitation of U.S. persons. Gentile has reason to believe that Dorsett would have

   communicated with Ogele via email regarding such issues, but Gentile’s counsel have identified

   zero emails involving Ogele and Dorsett in the SEC’s current production, demonstrating that any

   such emails were also deleted by Dorsett prior to his transmission of Company email to the SEC.

          The same holds true for any emails Dorsett exchanged with Arthur Quintero. Quintero is

   not a lawyer but has been “registered with FINRA for over 35 years,” has been “a compliance

   consultant since 1999,” and has “familiarity with SEC Rule 15a-6 under the SEC Act of 1934

   which provides conditional exemptions from broker-dealer registration for foreign broker-dealers

   that engage in certain specified activities involving U.S. investors.” Ex. F, Arthur Quintero Aff.

   ¶¶ 2–5. Quintero avers, among other things, that he “consulted Guy Gentile (Gentile), Founder,

   and Philip Dorsett (Dorsett), the Chief Compliance Officer [of SureTrader] on SEC 15a-6 in

   November 2011 via group call,” id. ¶ 7, and that he continued to consult in the following months,




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   including proposing edits to the UAA and certain disclosures on the Company’s website, id.

   ¶¶ 8–11. But Dorsett’s production of roughly 15,000 documents spanning his entire time of

   employment with SureTrader includes exactly zero communications with Quintero.

          Gentile has identified at least one specific, concrete example where Dorsett deleted a

   highly relevant email that bears on the central issues in this case. During the first day of the

   witness’s deposition, he was shown his affidavit dated January 9, 2014, which he initialed on

   each page and signed before a notary in the Bahamas. See Ex. R, Tr. 193:4–198:17; Ex. G. In the

   affidavit, which was submitted to U.S. Financial Industry Regulatory Authority (“FINRA”) in

   connection with its investigation of the same allegations as those alleged in the SEC’s

   Complaint, Dorsett averred:

            5. In early 2012, Swiss America adopted a policy of accepting certain unsolicited
      US-based persons as customers in compliance with US law.
             6. In connection with this policy, I reviewed all relevant Rules and Guidance of
      the U.S. Securities and Exchange Commission regarding solicitation of US persons by
      unregistered non-US broker-dealers.
              7. Based on SEC Rules and Guidance, Swiss America developed policies and
      procedures designed to ensure that SureTrader complied with US laws regarding
      solicitation.

   Ex. G. The witness was provided a draft of the affidavit in Microsoft Word format by email on

   January 8, 2014, when Gentile forwarded the document to the witness, indicated “Please review

   attached,” and included the following cover note from counsel for Gentile: “Attached is a copy

   of an affidavit that we would like Philip to sign and get notarized. Can you give him this

   document, make sure that he 100% agrees with everything that is contained in it and get it back

   to us signed and notarized tomorrow. Thanks.” Ex. H. The draft, along with the cover note, was

   sent to Dorsett’s SureTrader email address (philip@suretrader.com). Id.

          At the first day of his deposition on February 27, 2023, the witness testified that his

   signature appeared on the FINRA affidavit, but he claimed he did not recall the document and


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   that “if I did sign this, I can only say that it was maybe under duress.” Ex. R, Tr. 198:9–10. He

   testified that paragraph 6 of his affidavit was “not a correct statement.” Id., Tr. 197:2. During the

   second day of his deposition, the following exchange unfolded between the witness and counsel

   for Gentile:

       Q. Isn’t it a fact that my law firm at the time, Harris O’Brien sent you a copy of this
       document for review prior to you signing it, isn’t that a fact?
       A. No, I don’t recall that at all.
       Q. Isn’t it a fact --
       A. No --
       Q. Isn’t it a fact that in that e-mail, it was requested by an attorney from Harris O’Brien?
       A. Could you show me that [e]mail.

   Ex. D, Tr. 224:17–225:3. When shown the email chain clearly demonstrating the draft FINRA

   affidavit had originally been sent by counsel for Gentile to Gentile, who then forwarded the draft

   to Dorsett at his SureTrader email address for his review prior to his signing it, the witness

   obfuscated, obstructed, and still maintained he had never received the email. See id. at Tr.

   233:17–238:12. Gentile was able to smoke out this deception—involving a central aspect of the

   case—only because he and his counsel had been on the email correspondence involving the draft

   affidavit. For all other emails Dorsett sent or received from his SureTrader account but that did

   not include Gentile or his counsel—such as with Michael Miller, Arthur Quintero, Franklin

   Ogele, Carla Marin (another attorney who advised SureTrader at various points), or anyone

   else—there is no way of knowing what else the witness deleted.7

           When Dorsett was pressed during his deposition about whether he might yet be able to

   recover deleted emails in his “trash” folder, the witness testified that his Gmail had since been




   7
    Dorsett also withheld from production the formal termination letter he received from SureTrader, dated July 31,
   2017. SureTrader’s IT professional, Stephen Darville, testified under oath that he had been instructed to monitor
   Dorsett’s emails after the Company determined Dorsett had been forwarding and otherwise stealing SureTrader
   emails and documents and that SureTrader fired Dorsett for this reason. See Ex. K, Tr. 98:19–101:10.


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   “hacked” and bizarrely insinuated that the alleged hacking was somehow connected to this case

   and may have been carried out by Gentile or his counsel:

       Q. So, they would be available then in your Gmail trash; is that correct?
       A. Well, this is sometime ago -- I mean, I don’t know. Interestingly enough, the very week
       that it became known to the courts that I was in possession of Swiss America Securities
       [SureTrader] e-mails, my Gmail was actually hacked. And that’s when I started following
       this case because I wanted to log in to see the exact time that you guys became aware of it.
       My Gmails were hacked and security e-mails were deleted.

   Ex. D, Tr. 312:17–313:4 (emphasis added).8 The SEC maintained during Dorsett’s deposition—

   after the witness had been excused—that they were aware of the alleged hacking. See id., Tr.

   338:16–18 (“[Counsel for Gentile][:] Can I ask you, were you aware that this hack had

   happened? Was this something -- do you know about this? [Counsel for the SEC]: My

   understanding is this happened after April [2022] when he already made that transmission to

   us.”). But the incident had never been disclosed to counsel for Gentile.9 Nor does it make any

   sense since the emails were purportedly transferred to the SEC prior to the alleged hack.

                                              LEGAL STANDARD

           “Spoliation is the destruction or significant alteration of evidence, or the failure to

   preserve property for another’s use as evidence in pending or reasonably foreseeable litigation.”

   Graff v. Baja Marine Corp., 310 F. App’x 298, 301 (11th Cir. 2009) (unpublished) (quoting West

   v. Goodyear Tire & Rubber Co., 167 F.3d 776, 779 (2d Cir. 1999)). A district court possesses

   authority to impose sanctions for spoliation “[e]ven without a discovery order.” West, 167 F.3d

   at 779; see also Oil Equip. Co. Inc. v. Mod. Welding Co. Inc., 661 F. App’x 646, 658 (11th Cir.

   2016) (unpublished) (per curiam). Spoliation of ESI is analyzed under Rule 37(e) of the Federal


   8
     Gentile and his counsel categorically deny such spurious speculation and doubt that Dorsett’s email account was
   ever even hacked at all. Counsel for Gentile first became aware of the emails in May 2022, and it was counsel for
   Gentile who brought the issue to the Court’s attention in June 2022.
   9
     Gentile previously requested in discovery that the SEC produce all communications with Dorsett. The SEC’s
   production includes no written communication where Dorsett informs the SEC his email account has been hacked.


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   Rules of Civil Procedure. See, e.g., Snider-Hancox v. NCL Bahamas Ltd., No. 17-20942-CIV,

   2018 WL 6448765, at *3–4 (S.D. Fla. Dec. 3, 2018) (collecting cases).10

                                                            ARGUMENT

        I.   The SEC and its witness failed to preserve ESI in contravention of Rule 37(e) of the
             Federal Rules of Civil Procedure.

             To determine if sanctions under Rule 37(e) are warranted, the court must first assess four

   “threshold elements,” i.e., whether: “(1) the information sought constitutes ESI; (2) the ESI

   should have been preserved in anticipation of litigation; (3) the ESI is lost because a party failed

   to take reasonable steps to preserve it; and (4) the ESI cannot be restored or replaced through

   additional discovery.” Snider-Hancox, 2018 WL 6448765, at *4 (citation omitted). Here, there

   can be no dispute that the emails the SEC’s witness intentionally deleted constitute ESI. And, as

   explained below, the remaining three elements are easily satisfied.

             A. The ESI should have been preserved in anticipation of litigation, which in fact
                was already underway.

             Gentile disagrees with how Dorsett obtained the SureTrader emails and other documents

   in question, which Gentile maintains were taken in violation of Company policy and Bahamian

   law. But, regardless of how the ESI was obtained, a duty to preserve the data—including all

   relevant data and not just data the SEC’s witness thought helpful to his self-serving testimony—

   arose prior to the witness’s destruction of evidence. See, e.g., Alabama Aircraft Indus., Inc. v.


   10
     Order clarified, No. 17-20942-CIV, 2018 WL 11349996 (S.D. Fla. Dec. 11, 2018); see also Alabama Aircraft, 2022 WL
   433457, at *13. Rule 37(e) states in full:
     (e) Failure to Preserve Electronically Stored Information. If electronically stored information that should have been
     preserved in the anticipation or conduct of litigation is lost because a party failed to take reasonable steps to preserve it, and it
     cannot be restored or replaced through additional discovery, the court:
          (1) upon finding prejudice to another party from loss of the information, may order measures no greater than necessary to
          cure the prejudice; or
          (2) only upon finding that the party acted with the intent to deprive another party of the information’s use in the litigation
          may:
               (A) presume that the lost information was unfavorable to the party;
               (B) instruct the jury that it may or must presume the information was unfavorable to the party; or
               (C) dismiss the action or enter a default judgment.


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   Boeing Co., 319 F.R.D. 730, 740 (N.D. Ala. 2017) (duty to preserve arises “not only when

   litigation is pending but also when it is reasonably foreseeable”).11

           The duty to preserve arose on August 17, 2015, when an SEC staff attorney sent Dorsett a

   letter instructing him to “preserve[]” documents under threat of “criminal liability” and

   specifically “request[ed] that you take no affirmative action to delete any emails.” See Ex. J.12 In

   March 2016, Dorsett filed a “whistleblower” complaint—further confirming he anticipated

   litigation and a duty to preserve had arisen—offered to provide the SEC “all I can get my hands

   on,” and subsequently forwarded numerous Company emails and documents to the SEC.

   Although the SEC cannot deny that Dorsett began forwarding emails and other documents to the

   SEC at its request as early as 2016, it maintains that it never received Dorsett’s SureTrader

   emails en masse prior to April 2022, a head-scratching proposition. In any event, the SEC and

   Dorsett were obviously under a duty to preserve ESI by 2016. In April 2022, after the SEC

   requested documents from Dorsett outside the formal discovery process and provided Dorsett

   with “links” for exporting his SureTrader email, Ex. I, Dorsett then deleted relevant ESI—

   including communications related to his termination and reflecting advice received by

   SureTrader related to compliance with U.S. regulations—and transmitted some ill-defined subset

   of records to the SEC. See Ahrens Enters., Inc. v. Winning, No. 18-80650-CIV, 2019 WL

   12520080, at *4 (S.D. Fla. Apr. 18, 2019) (“Mr. Winning’s explanations for deleting or losing

   the ESI . . . demonstrate an unreasonable failure to preserve. . . . It was not for Mr. Winning to

   unilaterally decide what might or might not be relevant.”).




   11
     Aff’d, No. 20-11141, 2022 WL 433457 (11th Cir. Feb. 14, 2022).
   12
     Of note, the SEC filed its Complaint on March 22, 2021, ECF No. 1, and indicated in its December 2021 Initial
   Disclosures that Dorsett possessed discoverable information.


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            B. The ESI was lost because the SEC and its witness failed to take reasonable steps
               to preserve it.

            “Control may be inferred, even when a party does not have possession or ownership of

   the evidence, ‘when that party has the right, authority, or practical ability to obtain [the evidence]

   from a non-party to the action.’” Pac. Coast Marine Windshields Ltd. v. Malibu Boats, LLC, No.

   6:12-CV-33-ORL-28DAB, 2012 WL 10817204, at *5 (M.D. Fla. Nov. 30, 2012) (citation

   omitted); AXIS Ins. Co. v. Terry, No. 2:16-CV-01021-JHE, 2018 WL 9943825, at *6 (N.D. Ala.

   Apr. 23, 2018). Prior to Dorsett’s deletion of relevant ESI, the SEC had already obtained certain

   ESI from him and had the practical ability to obtain all ESI regarding SureTrader he possessed.

            Indeed, the evidence of the SEC’s control of Dorsett is abundant. Dorsett is not

   represented by counsel in this case, and the SEC has been in constant contact with him since

   2016, for example: (1) insisting Dorsett is a “whistleblower” under the Dodd–Frank Act and the

   SEC’s regulations, which—if correct—would entitle Dorsett to a monetary payout if the SEC

   prevails;13 (2) requesting and eliciting production of documents from him outside the formal

   discovery process; (3) persuading him to sign a declaration in support of the SEC’s opposition to

   Gentile’s first Motion for Sanctions in June 2022 (in addition to a 2020 declaration he signed at

   the SEC’s behest); (4) requesting Gentile’s counsel contact the SEC to schedule Dorsett’s

   deposition rather than the witness directly; (5) meeting with Dorsett before his deposition and

   producing additional documents obtained from Dorsett on the eve of his first day of testimony;

   (6) indicating at points during counsel for Gentile’s examination of Dorsett that the SEC would

   instruct the witness not to answer questions; and (7) objecting to holding open Dorsett’s

   deposition after it became apparent the witness had committed perjury and also spoliated


   13
     Dorsett acknowledged he is “aware” that whistleblowers are entitled to a percentage of the recovery obtained by
   the SEC in a successful case. See Ex. D, 240:20–24. Dorsett’s financial interest in this case is aligned with the SEC
   and incentivizes him to provide false testimony and spoliate documents he views as unhelpful to him or the SEC.


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   relevant ESI. The SEC plainly has “control” over Dorsett and the documents he possessed and

   continues to possess. See Ronnie Van Zant, Inc. v. Pyle, 270 F. Supp. 3d 656, 669–70 (S.D.N.Y.

   2017) (“‘[C]ommon sense’ indicates that [nonparty] Cohn’s texts with Pyle were within [party]

   Cleopatra’s control, and . . . should have been preserved.”).14

           At a meet and confer on May 9, 2022, the SEC represented to counsel for Gentile that it

   had recently requested and received documents—including approximately 11,000 emails—from

   Dorsett without any restriction on time range or subject matter and without having served any

   formal subpoena, document request, or letter rogatory on the witness. See generally Ex. A. The

   SEC stated in writing the next day on May 10, 2022, that it “requested” Dorsett (who is not a

   lawyer) “search the emails for communications with counsel/lawyers and asked that he segregate

   them and not transmit them to the SEC.” Id. at 2 (emphasis added). The SEC also proposed that a

   “taint team” conduct an additional review of the emails, a proposal that made little sense given

   the SEC’s request that Dorsett conduct his own privilege review. The SEC instructed Dorsett to

   segregate emails he was not turning over but did not instruct him to retain such emails, which

   the SEC should have done pursuant to its duty to preserve evidence over which it had “control.”

           And because the SEC did not request the documents through any formal process, there

   were no written instructions to Dorsett reiterating the duty to preserve documents or instructing

   him to create a log of potentially privileged documents that he was withholding from

   transmission to the SEC. So instead of segregating and preserving relevant emails that might

   also have been privileged, the witness “deleted them.” Ex. D, Tr. 312:16 (emphasis added).

   Dorsett’s intentional deletion of ESI clearly violates the duty to preserve. See Nationwide Life

   Ins. Co. v. Betzer, No. 5:18-CV-39-OC-30PRL, 2019 WL 5700288, at *9 (M.D. Fla. Oct. 28,


   14
     Rev’d in part, vacated in part on other grounds sub nom. Ronnie Van Zant, Inc. v. Cleopatra Recs., Inc., 906 F.3d
   253 (2d Cir. 2018).


                                                           16
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   2019) (“This is not a case in which data was lost because it was overwritten or purged via an

   automatic process. Rather, the evidence suggests that Defendants manually, intentionally and

   systematically utilized deletion software . . . .”).

           Dorsett admitted that he “deleted” emails with Michael Miller, SureTrader’s former

   counsel, but he also deleted communications with other legal counsel, advisors, and other

   SureTrader employees. He deleted a chain of emails he received at his Company email address in

   January 2014—comfortably within the time range of other emails he produced to the SEC from

   the same address—asking him to review and sign an affidavit to be submitted to FINRA only if

   he “100% agree[d]” with its contents, which he then signed before a notary. The subject of that

   affidavit is the exact subject of this case, i.e., alleged solicitation of U.S. customers by

   SureTrader. Dorsett signed the affidavit before a notary, but now testifies that although he

   recognizes his signature on the document, he does not recall the affidavit, he refuses to admit he

   received a draft of it via email, and he suggests—without any evidence—that maybe he signed it

   “under duress,” another lie. Gentile and his counsel had copies of the other side of the email

   exchange, but there is no telling what other highly relevant ESI Dorsett deleted.

           At a January 9, 2023 hearing, this Court found that the Company did not object to the

   production of its records and had waived any privilege. See Order, ECF No. 157. Accordingly,

   none of the spoliated ESI is protected by privilege and should have been produced to Gentile.

   These spoliated records are highly relevant to Gentile’s good-faith defense in this case that

   neither he nor SureTrader intended to violate the U.S. securities laws. See Betzer, 2019 WL

   5700288, at *9 (“[I]n spoliation cases, the prejudiced party should not be held to too strict a

   standard of proof regarding the probable contents of the destroyed evidence ‘because doing so

   allows the spoliators to profit from the destruction of evidence.’” (citation omitted)).




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            C. The ESI cannot reasonably be restored or replaced through additional
               discovery.

            When counsel for Gentile first learned during the witness’s recent deposition that the

   witness had spoliated relevant ESI, counsel for Gentile asked about the ability to recover the

   deleted documents from his “Gmail trash.” Ex. D, Tr. 312:17–18. The witness responded: “Well,

   this is sometime ago -- I mean, I don’t know.” Id., Tr. 312:19–20. The witness then continued—

   with no question pending and without a shred of evidence—to suggest “that you guys,” i.e.,

   Gentile and his counsel, may have been involved in a purported hack of his Gmail account. See

   id., Tr. 312:19–313:4. In other words, after counsel for Gentile learned for the first time during

   the witness’s second day of deposition testimony on February 28, 2023, that he had affirmatively

   deleted relevant ESI (and that he possessed additional relevant documents he had not produced),

   counsel for Gentile then learned for the first time about an alleged “hack” of the witness’s email,

   purportedly after the witness had transmitted documents to the SEC in April 2022. The witness

   then insinuated that Gentile and his counsel were responsible. After the witness had been

   excused, counsel for Gentile asked the SEC if they were aware of the “hack,” and counsel for the

   SEC responded: “My understanding is this happened after April [2022] when he already made

   that transmission to us.” See Ex. D, Tr. 338:16–18.15

            Counsel for Gentile are aware of no further efforts on the part of the witness or the SEC

   to identify or recover the documents he spoliated. And counsel for Gentile have no way of

   knowing the full scope of the spoliated ESI; there is no written record or log, and the witness

   himself testified he does not recall. See Ahrens, 2019 WL 12520080, at *4 (“While Ahrens could



   15
     Tellingly, the witness’s June 27, 2022 declaration includes no mention of this alleged “hack.” See ECF No. 89-2.
   Courts routinely reject such fanciful stories regarding a witness’s failure to preserve ESI he clearly possesses after a
   duty to preserve has arisen. See, e.g., In re Sussman, 816 F. App’x 410, 416 (11th Cir. 2020) (unpublished) (per
   curiam) (the spoliator’s “story regarding the laptop[] ‘change[d] as necessary and convenient to suit her needs’”).


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   conceivably attempt to piece together the larger puzzle of what might have been on Mr.

   Winning’s thumb drive or in his email accounts through other sources, Ahrens can never know

   for sure without direct access to these ESI sources.”); Pac. Coast Marine, 2012 WL 10817204, at

   *9 (“[S]imply because the deleted data might possibly be recoverable through a costly and time

   consuming forensic investigation, this does negate Gilbert’s willful deletion of the ESI.”).

    II.    Sanctions are appropriate because Gentile has been prejudiced by the spoliation of
           ESI and because the SEC’s witness, and by extension the SEC, acted with the intent
           to deprive Gentile of the ESI at issue.

           The four threshold elements under Rule 37(e) are plainly satisfied here and thus sanctions

   are warranted. As explained below, because Gentile has suffered significant prejudice as a result

   of Dorsett’s spoliation of relevant ESI and because Dorsett acted with an intent to deprive

   Gentile of such evidence, the Court should impose the stiffest sanctions. That Dorsett is a

   nonparty does not alter this conclusion; he is the SEC’s witness who provided the “facts” giving

   rise to the SEC’s Complaint, and it is the SEC that benefits from his willful deletion of ESI that

   is highly relevant to Gentile’s defense. See Pac. Coast Marine, 2012 WL 10817204, at *8 (“[I]t

   is Malibu who benefits from the lack of any adverse creation dates . . . or other negative

   metadata . . . that PCMW’s expert might have found, had files not been deleted [by nonparty

   Gilbert].”).

           “An analysis of whether there is prejudice or an intent to deprive overlaps. . . . [A]

   finding of intent to deprive can support ‘an inference that the lost information was unfavorable to

   the party that intentionally destroyed it’ and ‘also an inference that the opposing party was

   prejudiced by the loss of information that would have favored its position.’” Betzer, 2019 WL

   5700288, at *10 (quoting Fed. R. Civ. P. 37(e), 2015 Notes of Advisory Committee). Where

   appropriate, the Court may “forbid[] the party that failed to preserve information from putting on

   certain evidence, permit[] the parties to present evidence and argument to the jury regarding the


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   loss of information, or giv[e] the jury instructions to assist in its evaluation of such evidence or

   argument.” McMurray v. Formel D, No. 2:19-CV-00548-AMM, 2021 WL 9080087, at *9 (N.D.

   Ala. Mar. 30, 2021) (citation omitted).

          Here, the prejudice to Gentile is clear, and it is clear Dorsett deleted ESI with the intent to

   deprive Gentile of its use. Dorsett deleted relevant ESI that directly undermines his sworn

   testimony and is adverse to the SEC’s case. The starkest example is his deletion of the January

   2014 email string where he is asked to review and sign an affidavit to be submitted to FINRA if

   he “100% agrees with everything that is contained in it.” In that affidavit, Dorsett avers: “I

   reviewed all relevant Rules and Guidance of the U.S. Securities and Exchange Commission

   regarding solicitation of US persons by unregistered non-US broker-dealers. [] Based on SEC

   Rules and Guidance, Swiss America developed policies and procedures designed to ensure that

   SureTrader complied with US laws regarding solicitation.” See Ex. G, ¶¶ 6–7. Simply because

   counsel for Gentile were able to recover the other side of one email exchange (of potentially

   hundreds of deleted, highly relevant emails) does not excuse the witness’s egregious misconduct.

   See Connor v. Sun Trust Bank, 546 F. Supp. 2d 1360, 1376 (N.D. Ga. 2008) (party was

   prejudiced by destruction of later-recovered email “because it raises a question of whether there

   were other relevant emails in existence at that time but which were also not produced”).

                                             CONCLUSION
          Gentile respectfully requests that the Court find the SEC and its witness failed to preserve

   ESI in contravention of Rule 37(e) of the Federal Rules of Civil Procedure. In light of the

   intentional spoliation of highly relevant evidence, Gentile requests stiff sanctions, including

   dismissal of Counts II and III against Gentile or, in the alternative, that Dorsett be precluded

   from testifying at trial and the SEC be precluded from relying on his deposition testimony at

   summary judgment.


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                               CERTIFICATION OF COMPLIANCE

          Pursuant to Local Rule 7.1(a)(3), counsel for Gentile certifies that they sought to resolve

   the issues raised in the motion and have been unable to do so. Counsel for Gentile asked Dorsett

   under oath at his deposition on February 28, 2023, whether he was able to recover the ESI he

   spoliated and he indicated he could not. Counsel for Gentile stated their intention on the record

   to hold open the witness’s deposition after the spoliation became evident, but the SEC objected

   and indicated that it would make its position known to the Court. Dorsett resides in the Bahamas

   and counsel for Gentile has no practical ability to compel the witness’s further deposition

   testimony or further production of documents from the witness within the current discovery

   schedule.

                             REQUEST FOR HEARING OF MOTION

          Pursuant to Local Rule 7.1(b), Defendant Gentile respectfully requests a hearing on the

   instant motion. Gentile estimates that two hours total would be sufficient, inclusive of live

   testimony from Mr. Dorsett.




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   Dated:   March 21, 2023                    /s/ Dayliset Rielo
                                             Dayliset Rielo, Esq.
                                             The Rielo Law Firm, LLC
                                             8180 N.W. 36th Street, Suite 220
                                             Doral, FL 33166
                                             Tel: (786) 454-9873
                                             dayliset@rielolaw.com

                                             Adam C. Ford, Esq. (PHV granted)
                                             Matthew A. Ford, Esq. (PHV granted)
                                             Stephen R. Halpin III, Esq. (PHV granted)
                                             FORD O’BRIEN LANDY LLP
                                             275 Madison Avenue, 24th Floor
                                             New York, NY 10016
                                             Tel: (212) 858-0040 (main)
                                             aford@fordobrien.com
                                             mford@fordobrien.com
                                             shalpin@fordobrien.com

                                             Counsel for Defendant Guy Gentile




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                                  CERTIFICATE OF SERVICE

          I hereby certify that I caused the foregoing Defendant Guy Gentile’s Memorandum of

   Law in Support of Motion for Sanctions under Rule 37(e), dated March 21, 2023, to be served

   via CM/ECF on the following counsel for Plaintiff:

          Alice Sum
          U.S. Securities and Exchange Commission
          801 Brickell Avenue, Suite 1950
          Miami, FL 33131
          (305) 982-6300
          sumal@sec.gov

          Alise Meredith Johnson
          U.S. Securities and Exchange Commission
          801 Brickell Avenue, Suite 1800
          Miami, FL 33131
          (305) 982-6385
          johnsonali@sec.gov

          Russell Koonin
          U.S. Securities and Exchange Commission
          801 Brickell Avenue, Suite 1950
          Miami, FL 33131
          305-982-6390
          kooninr@sec.gov


                                                                     /s/ Dayliset Rielo
                                                                    Dayliset Rielo, Esq.
